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                                              16   Attorneys for Defendants
                                                   Official Partners New York, LLC, Tal Alexander,
                                              17   and Oren Alexander

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                                              19                                   UNITED STATES DISTRICT COURT

                                              20                             NORTHERN DISTRICT OF CALIFORNIA

                                              21                                      SAN FRANCISCO DIVISION

                                              22

                                              23   SIDE, INC.,                                       Case No.: 3:24-CV-07135-WHO

                                              24                      Plaintiff,                     JOINT STIPULATED NOTICE OF
                                                                                                     VOLUNTARY DISMISSAL OF ACTION
                                              25          v.                                         AND [PROPOSED] ORDER
                                                                                                     DISSOLVING PRELIMINARY
                                              26   OFFICIAL PARTNERS NEW YORK, LLC,                  INJUNCTION ORDER
                                                   TAL ALEXANDER, and OREN ALEXANDER,
                                              27
                                                                      Defendants.
                                              28
                                                   JOINT STIPULATED NOTICE OF VOLUNTARY                               Case No.: 3:24-CV-07135-WHO
                                                   DISMISSAL OF ACTION AND [PROPOSED] ORDER
                                                   DISSOLVING PRELIMINARY INJUNCTION ORDER
                                                   Case 3:24-cv-07135-WHO           Document 109         Filed 04/16/25      Page 2 of 4



                                               1          Plaintiff Side, Inc. (“Plaintiff” or “Side”) and Defendants Official Partners New York, LLC,

                                               2   Tal Alexander, and Oren Alexander (“Defendants”) (with Side, the “Parties”) have finalized and

                                               3   executed a global settlement of all claims between the Parties. Pursuant to Federal Rule of Civil

                                               4   Procedure 41(a)(1)(A)(ii), the Parties hereby stipulate and request that this court dismiss the action

                                               5   as to all Defendants with prejudice. The Parties also stipulate and request that this court issue an

                                               6   order dissolving the preliminary injunction order [Dkt. 58]. The Parties agree that this court shall

                                               7   retain jurisdiction to enforce the settlement agreement.

                                               8          The parties will also seek to dismiss with prejudice Side v. Official Partners, et al., 1:25-

                                               9   cv-20012-JAL (S.D.Fla.), currently pending in the United States District Court for the Southern

                                              10   District of Florida, and file and record dissolutions of the lis pendens filed by Side in connection

                                              11   with that case.

                                              12          Respectfully submitted,
F ENW ICK & W ES T LLP
                         ATTO RNEY S AT LAW




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                                                   Dated: April 16, 2025                                  FENWICK & WEST LLP
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                                              15                                                     By: /s/ Benjamin S. Kingsley
                                                                                                         Benjamin S. Kingsley
                                              16                                                         Attorneys for Plaintiff
                                              17                                                         Side, Inc.

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                                                   Dated: April 16, 2025                             BLACK SREBNICK
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                                              21
                                                                                                     By: /s/ Howard M. Srebnick
                                              22                                                         HOWARD M. SREBNICK
                                                                                                         Attorneys for Defendants
                                              23
                                                                                                         Official Partners New York, LLC,
                                              24                                                         Tal Alexander, and Oren Alexander

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                                                   JOINT STIPULATED NOTICE OF VOLUNTARY              1                       Case No.: 3:24-CV-07135-WHO
                                                   DISMISSAL OF ACTION AND [PROPOSED] ORDER
                                                   DISSOLVING PRELIMINARY INJUNCTION ORDER
                                                   Case 3:24-cv-07135-WHO           Document 109         Filed 04/16/25      Page 3 of 4




                                               1                                              ATTESTATION

                                               2           Pursuant to Civil Local Rule 5-(i)(3), the filer of this document attests that all signatories

                                               3   have conferred in its filing.

                                               4                                                     /s/ Benjamin S. Kingsley
                                                                                                     Benjamin S. Kingsley
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F ENW ICK & W ES T LLP
                         ATTO RNEY S AT LAW




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                                                   JOINT STIPULATED NOTICE OF VOLUNTARY              2                       Case No.: 3:24-CV-07135-WHO
                                                   DISMISSAL OF ACTION AND [PROPOSED] ORDER
                                                   DISSOLVING PRELIMINARY INJUNCTION ORDER
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                                               1                                         [PROPOSED] ORDER

                                               2            The Parties have entered into a settlement agreement which settled all claims between them,

                                               3   and filed a stipulated request to dismiss the action as to all Defendants. The case is hereby

                                               4   dismissed with prejudice. The preliminary injunction order [Dkt. 58] is hereby dissolved in its

                                               5   entirety. This court shall retain jurisdiction to enforce the settlement agreement.
                                                            IT IS SO ORDERED.
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                                                   Dated:
                                               8
                                                                                                          Honorable William H. Orrick
                                               9                                                          United States District Judge

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F ENW ICK & W ES T LLP
                         ATTO RNEY S AT LAW




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                                                   JOINT STIPULATED NOTICE OF VOLUNTARY              3                       Case No.: 3:24-CV-07135-WHO
                                                   DISMISSAL OF ACTION AND [PROPOSED] ORDER
                                                   DISSOLVING PRELIMINARY INJUNCTION ORDER
